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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Hualapai Indian Tribe,                            No. CV-24-08154-PCT-DJH
10                   Plaintiff,                        ORDER
11   v.
12   Debra Haaland, et al.,
13                   Defendants.
14
15          This matter is before the Court on its own review. The Plaintiff’s Motion for
16   Preliminary Injunction has been ruled upon and a Rule 16 Case Management Conference
17   shall be set.
18          Accordingly,
19          IT IS ORDERED setting a Rule 16 Scheduling Conference for December 17, 2024
20   at 11:00 a.m. in Courtroom 605, Sandra Day O’Connor United States Courthouse, 401 W.
21   Washington Street, Phoenix, Arizona 85003.
22          IT IS FURTHER ORDERED affirming the remainder of the Court’s original
23   Order Setting Rule 16 Scheduling Conference (Doc. 8).
24          Dated this 13th day of November, 2024.
25
26                                                 Honorable Diane J. Humetewa
                                                   United States District Judge
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